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From: Rick Fernandez <RickF @rdtintermodal.com>

Sent: Tuesday, September 24, 2024 3:42 PM

To: FMCSA Customer Service <fmcsa_ask@mailfg.custhelp.com>;

Ce: jim@daws-trucking.com; RickDF@rdtintermodal.com

Subject: RE: Operating Authority - Transfer of Authority [Incident: 240209-006543]

Good morning Christina

Unfortunately, we were unable to come to an agreement to complete the transfer the DOT Number from Daws
Trucking Inc. to Jim Daws Trucking LLC

However, Jim Daws Trucking LLC is retaining the active MC # MC-440948 purchased in the acquisition

My question what is our next step ?

Should Jim Daws Trucking LLC now apply for a new dot under the same Motor Carrier number

or you had mentioned on a phone call a possible second option would be:

To simply add our Existing US DOT # 550755 from our Parent company (RD Limited).

The goal is to keep our driver, safety, and profile experience active.

My number is 708-267-2307 Rick is you have time for a call.

Thank you and appreciate your assistance..

Rick Fernandez

JDT_00231028

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USDOT INFORMATION
Entity Type: CARRIER/ SHIPPER
USDOT Status: ACTIVE Qut of Service Date: None
USDOT Number: 1068705 State Carrier 1D Number:
MCS$-150 Form Date: 08/22/2024 MCS-150 Mileage (Year): 9,195,823 (2023)
OPERATING AUTHORITY INFORMATION
ting Authority Status: AUTHORIZED FOR Property
For Licensing and Insurance details click here.
VCINMDUFF Numberjs}; MC-440948

COMPANY INFORMATION
; DAWS TRUCKING INC
; JIM DAWS TRUCKING LLC

; 758 280TH ROAD
MILFORD, NE 68405

Legal Name:

DBA Name:

Physical Address:
Phone: (402) 761-2186

Mailing Address:

DUNS Number:

Power Units:

; 758 280TH ROAD
MILFORD, NE 68405

From: Rick Fernandez

Sent: Friday, February 16, 2024 11:19 AM

To: FMCSA Customer Service

Cc: Jim Daws

Subject: RE: Operating Authority - Transfer of Authority [Incident: 240209-006543]

Thank you Christina

| appreciate that you helped us clarify that. | will ask Mr. Daws for an updated ammendment. Naming
Daws Trucking inc. a member of Jim Daws Trucking LLC.

Best Regards

Rick Fernandez

Sent via the Samsung Galaxy S8+, an AT&T 5G Evolution capable smartphone

JDT_00231029

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From: FMCSA Customer Service <fmcsa_ask@mailfg.custhelp.com>
Date: 2/16/24 8:56 AM (GMT-06:00)
To: Rick Fernandez <RickF@rdtintermodal.com>

Subject: Operating Authority - Transfer of Authority [Incident: 240209-006543])

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Recently you requested assistance from FMCSA Contact
Center support. Below is a summary of your request and our
response. If this issue is not resolved to your satisfaction,
please contact us again and provide the incident reference #
elow. Thank you for allowing us to be of service to you.

Subject
Operating Authority - Transfer of Authority

Response By Email (Christina R.) (02/16/2024 09:56 AM)

Good morning, sir!

Not specifically. | asked because if you cannot provide articles of amendment,
a new USDOT is required per USDOT policy. Please see below”

“Per USDOT Policy: USDOT numbers are a unique identifying
number to each person required to identify itself within the
FMCSA. USDOT numbers are nontransferable and will remain
assigned to that person forever. A person includes an
individual (sole proprietor), corporation, partnership, or other
business organizations.

Most of the time, when form of business changes, a new
USDOT number is required because this business has became
a new legal person/entity. However, if the motor carrier
provides evidence that the entity is recognized as a
continuation of the original entity under state law, no new
USDOT number is required. ”

Please see below for the instructions to transfer the authority:

if there is a change in ownership, the transferor (seller) and transferee (buyer)
will be required to complete a transfer request. Attached you will find a transfer
request to assist with providing the required information.

Please submit your IRS confirmation letters displaying the current EIN and new
ownership (Form CP 575 or 147c),

USDOT numbers are not transferable. To facilitate the transfer, the
transferee (buyer) will need to generate their own USDOT number in the
Unified Registration System (URS) as INTRASTATE (do not send an MCS-
150 to apply for the new USDOT number). Once a USDOT number is assigned
at the end of the registration, please place that USDOT number in the space
provided on the transfer request. It will be updated to Interstate and attached to
the MC number once it is transferred.

Note: Internet browsers: Internet Explorer 10 or above in compatibility mode,
Google Chrome, Safari or Firefox browsers work best with the URS tool.

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Apply Online via the Unified Registration System (URS)

To complete the transfer, the transferor (seller) is required to send an updated
MCS-150 marking USDOT 1068705 either OUT OF BUSINESS, Interstate
Private Property or Intrastate. (Information on the form should be the
transferor's information prior to any unapproved changes)

A copy of the driver's license of the transferor (seller) and transferee (buyer) is
required to be submitted along with the documents for changes to be
processed.

Please return completed and requested documents back to this email.

if you have any questions, please respond directly to this email only or | can be
reached via phone call at 202.643.8395.

Thank you

Customer By Service Email (Ricardo Fernandez) (02/16/2024
01:41 AM)

Hi Christina

There weren't any amendments to the Original Company known as
Daws Trucking Inc. as Jim Daws Proprietor will is planning to fade it
out. But will remain as President of the new company.

There was a formation of Jim Daws Trucking as an LLC ( currently
acting as DBA) we hope the company will remain with the same
DOT and MC # also no amendments.

Are there specific amendments that should be issued .?

Regards

Ricardo Fernandez

Cell 708-267-2307

Operating Authority - Transfer of Authority [Incident: 240209-
006543]

Response By Email (Christina R.) (02/15/2024 08:46 AM)

Hi,

JDT_00231031

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Are you able to provide articles of amendment?

Thank you,

Question Reference # 240209-006543
Date Created: 02/09/2024 05:24 PM

Date Last Updated: 02/16/2024 09:56 AM

Status: Solved

FMCSA Portal Users -

if you have or use an FMCSA Portal account, you must
act now to maintain access.

How you log on to the FMCSA Portal is changing. FMCSA is
making access more secure by implementing multifactor
authentication. Soon, User ID and Passwords will no longer
be used to access the FMCSA Portal.

You will access the FMCSA Portal and other FMCSA Systems
through a Login.gov account instead of using your current
FMCSA Portal username and password.

What actions do you need to take now?

To ensure you have continued access to the FMCSA Portal,
verify your FMCSA Portal Profile, ensuring your portal
account's email address matches your Login.gov account.

If you don't have Login.gov account yet, you must set up an
account using your FMCSA Portal account email address by
January 1, 2024.

Please follow the step-by-step directions, which can be found
on the EMCSA website, to establish your account.

Once you have created your Login.gov account, instead of
entering a User ID and Password, simply click the "Sign In
With Login.gov" link to log in.

Have questions or need help setting up your Login.gov
account or accessing your FMCSA Portal Profile?

Carrier and Company users should dial 1-800-832-5660 or
submit a question through
‘li f regi - kf

What is Multifactor Authentication?

Multifactor Authentication is a method to verify your identity
requiring two or more pieces of evidence (factors). These
factors can be something you know (like a password),
something you have (like an access card) or something you
are (like facial recognition or fingerprint).

Why is FMCSA implementing Multifactor
Authentication?

The Federal Cybersecurity plan under White House Executive
Order 14028, Improving the Nation's Cybersecurity, and
Office of Budget Memorandum M-22-09, Moving the U.S.
Government Toward Zero Trust Cybersecurity Principles
(Federal Zero Trust Strategy) requires all Federal agencies to
adopt secure MFA to enhance information security by Dec.

JDT_00231032

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31, 2023.

Questions for the Federal Motor Carrier Safety Administration? Please
Contact Us.

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your cooperation.

[---002:005277:09257---]

JDT_00231033

